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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

JEFFREY PETERS, Derivatively on Behalf of
Nominal Defendant BLUE APRON
HOLDINGS, INC.,                                        Case No.

                       Plaintiff,

       v.

MATTHEW B. SALZBERG, BRADLEY
DICKERSON, BENJAMIN C. SINGER, JULIE
M.B. BRADLEY, TRACY BRITT COOL,
KENNETH A. FOX, ROBERT P. GOODMAN,
GARY R. HIRSHBERG, and BRIAN P.
KELLEY,

                       Defendants,

and

BLUE APRON HOLDINGS, INC.,

                       Nominal Defendant.




                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       By and through his undersigned counsel, Plaintiff Jeffrey Peters (“Plaintiff”) brings this

stockholder derivative action on behalf of Blue Apron Holdings, Inc. (“Blue Apron” or the

“Company”) and against certain current and former officers and directors of the Company for

violations of the Securities Act of 1933 (the “Securities Act”).

       Plaintiff makes these allegations upon personal knowledge as to those allegations

concerning himself and, as to all other matters, upon the investigation of counsel, which includes

without limitation: (a) review and analysis of public filings made by Blue Apron and other


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related parties with the United States Securities and Exchange Commission (“SEC”); (b) review

and analysis of press releases and other publications disseminated by certain of the Defendants

(defined below) and other related non-parties; (c) review of news articles, stockholder

communications, and postings on Blue Apron’s website concerning the Company’s public

statements; (d) pleadings, papers, and any documents filed with, and publicly available from, the

related consolidated securities fraud class action lawsuit captioned In re Blue Apron Holdings,

Inc. Securities Litigation, Case No. 1:17-cv-04846-WFK-PK (E.D.N.Y.) (the “Securities Class

Action”); and (e) review of other publicly-available information concerning Blue Apron and the

Defendants.1

I.      NATURE AND SUMMARY OF THE ACTION

        1.     Plaintiff brings this action derivatively for the benefit of Nominal Defendant Blue

Apron against certain of the Company’s current and former executive officers and directors

aiming to rectify Defendants’ violations of the Securities Act for issuing false and misleading

statements and/or omitting material information in the Company’s documents in connection with

its Initial Public Offering (“IPO”) of Blue Apron common stock, which took place on July 5,

2017.

        2.     Blue Apron is a subscription-based meal-kit delivery service. Blue Apron sends

weekly boxes of pre-portioned ingredients with instructions for customers to cook meals at

home.



1
  While Plaintiff’s counsel has conducted its own, independent investigation, many of the
allegations herein (and, in particular, the allegations that relate to former employees (“FE”)
accounts) are contained in a Amended Class Action Complaint for violation of the federal
securities laws (the “Securities Complaint”) filed against the Company and certain of its officers
and directors in the Securities Class Action.



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       3.      Founded in 2012, Blue Apron is headquartered in New York, New York. Blue

Apron’s Class A common stock was offered in the IPO thereafter traded on the New York Stock

Exchange (“NYSE”) under the ticker symbol “APRN.”

       4.      Blue Apron’s IPO was conducted pursuant to a registration statement (defined

below as the “IPO Registration Statement”) and prospectus (defined below as the “IPO

Prospectus”). In the IPO Registration Statement and IPO Prospectus (collectively the “IPO

Materials”), Defendants made materially false and misleading statements regarding the

Company’s business, operational and compliance policies. Defendants failed to disclose known

material trends that would have a material impact on net sales or revenues or income from

continuing operations and that would cause reported financial information not to be necessarily

indicative of future operating results.

       5.      Specifically, Defendants failed to disclose that by the time of the IPO: (i) Blue

Apron was experiencing adverse On-Time In-Full (“OTIF”) performance at its production

facilities; (ii) significant delays had materialized in opening and ramping up production at the

Linden, New Jersey facility; (iii) the adverse OTIF rates and delays at Linden were hindering the

Company’s customer retention and would necessarily delay the Company’s announced plans to

add new products, which would be essential to gain new customers and compete effectively in

the marketplace; and (iv) because of the adverse OTIF rates and delays at Linden, Blue Apron

had already decided it would be forced to change its strategic approach for the remainder of 2017

by reducing marketing spending until it could address its operational problems and improve its

margins and OTIF rates.

       6.      On August 10, 2017, in connection with the release of its second quarter earnings,

Blue Apron revealed that it had encountered significant delays associated with ramping up



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production in its highly-touted new factory in Linden, New Jersey. There were pervasive

equipment malfunctions and serious staffing issues which prevented Blue Apron from attaining

full production capacity at its Linden facility, which was ultimately intended to handle more than

half of Blue Apron’s total production.

       7.      These persistent production delays led to additional delays in implementing new

product initiatives, which the Company had hailed as crucial to customer growth and retention.

       8.      Production delays also meant that the Company was forced to reduce its

marketing spend, as there was no sense marketing to new customers it could not adequately

service.

       9.      Blue Apron also revealed in August 2017 that it was experiencing poor OTIF

rates across its production locations, and most acutely at Linden. These problems likewise

threatened Blue Apron’s ability to attract and retain customers.

       10.     Following this news, Blue Apron’s share price fell $1.10, or more than 17%, to

close at $5.14 on August 10, 2017—almost 50% below the IPO price.

       11.     Blue Apron’s stock price continued to slide well into November, as additional

disclosures and analysis revealed to the market the full extent of Blue Apron’s pre-existing and

ongoing production struggles and the implications they portended for Blue Apron’s business.

Moreover, these developments and revelations arose at a most inopportune time as Blue Apron’s

competitors were gobbling up market share.

       12.     By November 7, 2017, Blue Apron’s share price had fallen to $3.05, nearly 70%

below the IPO price.




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       13.        As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiffs and other shareholders have

suffered significant losses and damages.

II.    JURISDICTION AND VENUE

       14.        Pursuant to 28 U.S.C. §1331 and section 21D of the Securities Act (15 U.S.C. §

77v), this Court has jurisdiction over the claims asserted herein under Section 11 of the

Securities Act.

       15.        This Court has jurisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and maintains operations in this

District, or is an individual who has sufficient minimum contacts with this District to render the

exercise of jurisdiction by the District courts permissible under traditional notions of fair play

and substantial justice.

       16.        Venue is proper in this Court in accordance with 28 U.S.C. §1391 because: (i) one

or more of the defendants either resides in or maintains executive offices in this District; (ii) a

substantial portion of the transactions and wrongs complained of herein, including the

defendants' primary participation in the wrongful acts detailed herein, occurred in this District;

and (iii) defendants have received substantial compensation in this District by doing business

here and engaging in numerous activities that had an effect in this District.

III.   THE PARTIES

       A.         Plaintiff

       17.        Plaintiff has been a stockholder of Blue Apron during the relevant period, and has

continuously been a stockholder since that time.




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       B.      Nominal Defendant

       18.     Nominal defendant Blue Apron is a Delaware corporation. At the time of the IPO,

Blue Apron maintained principal executive offices at 5 Crosby Street, New York, New York

10013. At all relevant times since approximately October 2017, Blue Apron has maintained

principal executive offices at 40 West 23rd Street, New York, New York. Blue Apron’s shares

trade on the NYSE under the ticker symbol “APRN.”

       C.      Defendants

       19.     Defendant Matthew B. Salzberg (“Salzberg”) was a co-founder of Blue Apron

who served as the Company’s President and CEO until November 2017, when he resigned and

transitioned to the role of executive chairman. He also served as Treasurer until January 2017

and has been a director of the Company since its inception. Salzberg participated in preparing the

IPO Prospectus, and signed or authorized the signing of the IPO Registration Statement.

       20.     Defendant Bradley Dickerson (“Dickerson”) was Blue Apron’s President and

Chief Executive Officer until April 2019. Dickerson joined the Company in February 2016.

Dickerson participated in preparing the IPO Prospectus, and signed or authorized the signing of

the IPO Registration Statement.

       21.     Defendant Benjamin C. Singer served (“Singer”) at all relevant times as the

Company’s Secretary and general counsel. Singer participated in preparing the IPO Prospectus,

and signed or authorized the signing of the IPO Registration Statement.

       22.     Defendant Julie M.B. Bradley (“Bradley”) has been a Director of Blue Apron

since November 2015. Bradley participated in preparing the IPO Prospectus, and signed or

authorized the signing of the IPO Registration Statement.




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       23.     Defendant Tracy Britt Cool (“Cool”) has been a Director of Blue Apron since

January 2017. Cool participated in preparing the IPO Prospectus, and signed or authorized the

signing of the IPO Registration Statement.

       24.     Defendant Kenneth A. Fox (“Fox”) was a Director of Blue Apron from April

2014 until February 2019. Fox participated in preparing the IPO Prospectus, and signed or

authorized the signing of the IPO Registration Statement.

       25.     Defendant Robert P. Goodman (“Goodman”) was a Director of Blue Apron’s

Board from November 2015 until December 2019. Goodman participated in preparing the IPO

Prospectus, and signed or authorized the signing of the IPO Registration Statement.

       26.     Defendant Gary R. Hirshberg (“Hirshberg”) has been a Director of Blue Apron’s

Board since October 2016. Hirshberg participated in preparing the IPO Prospectus, and signed

or authorized the signing of the IPO Registration Statement.

       27.     Defendant Brian P. Kelley (“Kelley”) has been a Director of Blue Apron’s Board

since April 2017. Kelley participated in preparing the IPO Prospectus, and signed or authorized

the signing of the IPO Registration Statement.

       28.     Defendants Salzberg, Dickerson, Singer, Bradley, Cool, Fox, Goodman,

Hirshberg, and Kelly are collectively referred to herein as the “IPO Defendants.”

       D.      Related Party Non-Defendants

       29.     Non-Defendant Elizabeth Huebner (“Huebner”) has been a Director of Blue

Apron’s Board since January 2020. Huebner is included solely for demand futility purposes.

       30.     Non-Defendant Linda Findley Kozlowski (“Kozlowski”) has been Blue Apron’s

President, CEO and member of Blue Apron’s Board of Directors since April 2019. Huebner is

included solely for demand futility purposes.



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IV.    FACTUAL BACKGROUND

       A.      Blue Apron’s Meal Kits

       31.     Blue Apron is a subscription-based meal-kit delivery service. The Company was

founded in 2012 by Matthew Wadiak, Salzberg, and Ilia Papas, who “wanted to cook at home

with their families, but they found grocery shopping and menu planning burdensome, time

consuming, and expensive.”

       32.     Blue Apron’s meal kits are available to customers through a weekly subscription

service. Every week, the Company creates a number of original recipes, customers select which

recipes they’d like to receive, and the Company delivers meal kits containing the recipes along

with the pre-portioned ingredients required to cook them. According to Blue Apron, the

Company’s meal kits offer the satisfaction of home cooking along with the convenience of

delivery, a wide variety of “seasonally-inspired recipes that are always delicious, fun and easy to

prepare,” and a regular introduction to “new ingredients, flavors, and cooking techniques”—in

short, it’s “like having your own private chef—you’ll discover new recipes, eat fresher food, and

save both time and money.”

       33.     Blue Apron’s meal kits generated extensive media coverage and quickly became

very popular. For example, Forbes aptly summarized Blue Apron’s core value proposition,

noting that the Company’s “precisely portioned dinners minimize waste and allow consumers to

try ingredients they might not otherwise buy, at a price they’d have trouble matching—roughly

$10 per meal per person.” 1

       B.      Blue Apron’s Business Model

       34.     From the beginning, Blue Apron described its mission and business strategy as

not just making home cooking easier but also transforming the nature of food distribution, which



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purportedly allowed the Company to provide fresher and higher-quality ingredients at lower

prices by increasing distribution and delivery efficiencies and reducing food waste. As early as

September 18, 2012, Salzberg stated that Blue Apron’s “food is a major differentiator for us”

because “we source from the same wholesale providers who supply high-end restaurants, so the

quality is extremely high…. In fact, our food is higher quality than you could get on your own at

the supermarket, and fresher because it doesn’t sit for a week on the supermarket shelf before

you buy it.”2 And in numerous press releases beginning in April 2014, Blue Apron described

itself as “reinventing the grocery supply chain from the farm to the dinner table,” allowing it to

“source top-quality, seasonal ingredients that are fresher and more affordable than customers can

get on their own at their local supermarket.”

       35.     In its IPO Prospectus, Blue Apron described its business model as follows:

          We have reimagined the traditional grocery business model and developed an
          integrated ecosystem that employs technology and expertise across many disciplines.
          Our supply-demand coordination activities—demand planning, recipe creation, recipe
          merchandising, and marketing—drive our end-to-end value chain. We gather and
          infer information about our customers’ tastes, food preferences, and order behavior to
          forecast near-term and long-term demand. We also manage and influence demand,
          including through our content, proprietary software tools, and e-commerce
          experience. For example, our flexible recipe design process allows us to adjust
          recipes close to the time of delivery, enabling us to coordinate customer preferences
          with expected ingredient supply to help mitigate supply chain risks. Because our
          customers select recipes instead of specific ingredients, we can make adjustments
          while maintaining a consistent, high-quality customer experience. Our innovative
          direct-to-consumer business model enables us to:

              •   eliminate middlemen and work in a direct, coordinated manner with our
                  suppliers to reduce costs so we can make our products available affordably
                  and at scale;


              •   provide consumers with differentiated, specialty ingredients, many of which
                  are not widely available and are exclusive to us;



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              •   develop and implement proprietary technology across our fulfillment
                  operations to effectively manage our frequently changing, high- throughput,
                  perishable inventory; and


              •   design and optimize a cost-effective delivery network capable of reaching
                  over 99% of the U.S. population.

       36.     Buzzfeed2 aptly summarized both the appeal of Blue Apron’s business model as

well as the sheer operational and logistical complexity necessary to pull it off:

       The idea, on its surface, is simple. Once a week, customers receive a box in the
       mail with recipe cards and all the pre-portioned, farm-fresh ingredients — down
       to tablespoonfuls of vinegar and sprigs of oregano — needed to make two, three,
       or four wholesome, healthy, Instagram-ready, home-cooked meals. The cost per
       plate is just under $10, and each meal takes an average of 35 minutes to prepare
       (or so the recipe cards claim). As the sales pitch goes, it’s healthier than takeout,
       easier than cooking from scratch, and cheaper than a private chef or meal delivery
       service. Blue Apron’s product is, essentially, hired help in the kitchen at a fraction
       of the cost — a way for busy professionals and rural foodies to whip up meals like
       skokichi squash ragù and mafalda pasta with mushrooms, garlic chives, and
       rosemary or crispy catfish with kale-farro salad and warm grape relish in less than
       an hour, without setting foot in a grocery store or planning a meal. Its popularity
       has made the company a rising star among a new class of Silicon Valley
       disruptors whose product is not software, but real-world products, delivered to
       your door frictionlessly, quickly, efficiently, and sometimes inexpensively, with
       just a few clicks of a mouse or taps of an app.

                                                ***

       But between farm and front door is the massive, mostly invisible process by
       which all those ingredients are measured, cut, prepped, bagged, packed,
       palletized, and shipped. For all its outward simplicity, Blue Apron’s business
       model is predicated on a hugely complicated feat of precision logistics, executed at an
       enormous volume. Each week, the company has to develop 10 original, relatively
       healthy, widely appealing, geographically and seasonally appropriate recipes that
       can be prepared easily and quickly, with ingredients that are affordable and
       available at scale. It has to source correct quantities of produce, meat, cheese,


2
 Caroline O’Donovan, The Not-So-Wholesome Reality Behind The Making of Your Meal Kit,
Buzzfeed (Oct. 2, 2016, at 11:45 a.m.), https://www.buzzfeed.com/carolineodonovan/the-not-so-
wholesome-reality-behind-the-making-of-your-meal.



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        bread, spices, and staples from “artisanal purveyors and hundreds of family-run
        farms” across the country. And then it has to precisely portion and package each
        of those ingredients — 10 to 12 per meal in this week’s boxes — and send them
        out to hundreds of thousands of people, ideally without breakage, spoiling, lost
        packages, or missing ingredients.

        37.     As Buzzfeed noted, the business model gave Blue Apron very little room for error

in its operations:

        Flexibility and convenience are central to the Blue Apron pitch: Boxes can be
        canceled or modified up to about a week before the delivery day. That’s a boon
        for the customer, but it makes sourcing difficult, especially for a company
        mission-driven to reduce waste. With hundreds of thousands of people expecting dinner
        to be delivered on time, there’s little margin for error.

        38.     Because of this, Blue Apron’s executive management had to be extremely

involved in the details of the Company’s operations. Therefore, “[f]rom the beginning Salzberg

decided Blue Apron would handle its own distribution and stagg centers with employees, taking

on early complications and costs to control quality.”3

        C.      Blue Apron’s Rapid Growth

        39.     Blue Apron has grown exponentially since 2012. In August 2012, Wadiak,

Salzberg, and Papas packed and shipped the first 30 orders themselves, working from a

commercial kitchen in Long Island City. By August 2013, the Company was delivering 100,000

meals per month. That number rose to 500,000 by March 2014; to 1 million by November 2014;

to 3 million by June 2015, when the Company began shipping to the entire contiguous United

States; to 5 million by October 2015; and to 8 million by October 2016.




3
 Alex Conrad, Blue Apron’s Got Big Plans For Dinner -- But So Do Its Hungry Rivals, Forbes
(Oct. 14 2015 9:45 a.m.), https://www.forbes.com/sites/alexkonrad/2015/10/14/inside-blue-
apron-and-the-meal-kit-rush/#602294516461.



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       40.     To grow this quickly, the Company has spent very aggressively and scaled its

operations incredibly rapidly. It opened a fulfillment center in early 2014 in Richmond,

California; another fulfillment center, ten times as large, in December 2014 in Jersey City, New

Jersey; and a third fulfillment center in June 2015 in Arlington, Texas.

       41.     For the first few years, Blue Apron financed its rapid growth by raising funds

from private investors. In April 2014, it raised $50 million from investors at a $500 million

valuation. In June 2015, it closed a $135 million round of funding at a valuation of $2 billion. In

the Company’s June 9, 2015 press release announcing the funding round, it stated that it “will

use the new capital to scale its rapidly growing network of farms, suppliers, and fulfillment

capabilities throughout the country” and that the Company was “developing custom fulfillment

software tools and investing in automation” and that these “new capabilities will be deployed

across Blue Apron’s network of fulfillment centers.”

       D.      Blue Apron’s IPO

       42.     By September 2016, Blue Apron was considering a public offering and had begun

interviewing potential underwriters, targeting a valuation of $3 billion.

       43.     From 2012 to 2016, Blue Apron had consistently maintained a significantly

higher market share than any of its competitors, which included companies like Plated and

HelloFresh. In September 2016, Blue Apron’s market share was 57%.4 But by September 2016,

competition had grown increasingly stiff, causing Blue Apron’s revenue growth to stall.




4
 Rani Molla, Blue Apron still dominates the market for meal delivery kits but its market share is
plummeting,        Recode          (Nov        1,        2017,           10:30am          EDT),
https://www.recode.net/2017/11/1/16581142/blue-apron-market-share-decline-meal-kit-delivery-
hello-fresh.



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       44.     Therefore, in the third quarter of 2016, the Company “increased promotional

activity, including discounts to new customers, in part in response to increased competitive

promotional activity.” But because Blue Apron’s competitors did the same, all of this price

competition made it easy for potential customers to switch frequently in order to take maximum

advantage of all the promotional pricing.

       45.     In December 2016, the Company decided to delay its planned offering because it

needed to show stronger performance in order to support a $3 billion valuation. Investors were

particularly concerned about Blue Apron’s margins and its cost of acquiring customers.

       46.     In 2017, Blue Apron began spending even more aggressively on growth. As a

result, in the first quarter of 2017, the Company generated revenue of $244.84 million but had a

net loss of $51.68 million in the quarter—almost as much as it had lost in all of 2016.

       47.     On March 31, 2017, Blue Apron filed a draft registration statement and

preliminary prospectus. The registration statement was subsequently amended several times,

with the final amended registration statement filed and declared effective on June 28, 2017

(collectively, the “IPO Registration Statement”). The final prospectus (the “IPO Prospectus”)

was filed on June 29, 2017.

       48.     In the Company’s amended preliminary prospectus filed on June 19, 2017, the

Company marketed 30 million shares and “estimated that the initial public offering price per

share will be between $15.00 and $17.00.” This would have raised $450-$510 million and valued

the Company at up to $3.2 billion.




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       49.    However, investors were less than enthusiastic, and the Company was forced to

reduce its price to $10 per share. The Wall Street Journal5 explained some of investors’ concerns

about the Company:

       Potential IPO investors expressed concern about Blue Apron’s prospects for
       profitability, according to fund managers and analysts. The company’s revenues
       have been growing, but it has posted net losses each year since its inception, and
       those losses have been growing. Marketing costs as a percentage of revenue has
       also climbed in recent years. In the first quarter, marketing costs rose to 25% of
       revenues, up from 15% a year earlier.

       Blue Apron’s disclosures show its cash on hand is shrinking. It tapped Fidelity for
       $64 million of additional financing in May at its 2015 share price, an unusual
       move so close to an IPO.

       “It’s hard to see what the bull case is,” said Sean Stiefel, portfolio manager at
       Navy Capital LLC. Mr. Stiefel’s firm participated in recent IPOs by social-media
       company Snap Inc. and enterprise software companies Appian Inc. and Okta Inc.

       Peter Lee, a data scientist at Triton Research LLC, which analyzes pre-IPO
       companies, said that Blue Apron will likely impress some investors with its
       consistent revenue growth, but it’s unclear how it will transform into a company
       with strong profit margins given the complexity of food distribution and lack of
       customer loyalty.

       Daniel McCarthy, a professor of marketing at Emory University, analyzed Blue
       Apron’s numbers and estimated that roughly 60% of customers stop using the
       service after six months.

       50.    On July 5, 2017, the Company completed its IPO, selling 30 million shares of

Class A common stock at $10.00 per share. The Company’ received approximately $278 million

in net proceeds from the IPO.

V.     BLUE APRON’S UNDISCLOSED OPERATIONAL STRUGGLES




5
  Corrie Driebusch & Eliot Brown, Blue Apron, Struggling to Woo Investors, Lowers Price
Range for IPO, Wall. S. J. (Jun. 28, 2017 5:12 p.m. ET), https://www.wsj.com/articles/blue-
apron-chops-its-ipo-price-range-1498652104.



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       51.     Unbeknownst to the investing public, Blue Apron was struggling with operational

issues beyond what investors were being told at the time of the IPO.

       52.     Blue Apron had scaled its operations very quickly in order to maintain its rapid

growth. In 2014 and 2015 it opened three new fulfillment centers in Richmond, California,

Jersey City, New Jersey, and Arlington, Texas. At the end of 2014, Blue Apron had 1,051 full-

time employees; that number increased to 2,997 by December 31, 2015 and to 5,028 by

December 31, 2016.

       53.     The rapid scaling created significant problems. For example, on October 2, 2016,

Buzzfeed reported numerous problems at the Company’s Richmond, California fulfillment

center. Blue Apron had “had to rapidly hire a massive unskilled workforce” in order to ramp up

its operations to meet demand, but was “unprepared to properly manage and care for those

workers, and as a result has suffered a rash of health and safety violations.” Moreover, while

Blue Apron was not the “only meal-kit business bringing the on-demand model and venture-

backed expectations to warehouses and food processing plants”, it was “the only major player

with such a history of health and safety problems.”6

       54.     These operational problems forced Blue Apron to slow its growth and to limit its

marketing efforts until it could address its operations. Specifically, in October 2015, the

Company hired a new safety manager for its Richmond center and “closed many shipping days

to new customers, cut its marketing budget, turned off its referral program, and altered many of




6
 Caroline O’Donovan, The Not-So-Wholesome Reality Behind The Making of Your Meal Kit,
Buzzfeed (Oct. 2, 2016, at 11:45 a.m.), https://www.buzzfeed.com/carolineodonovan/the-not-so-
wholesome-reality-behind-the-making-of-your-meal.



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its email marketing programs designed to drive customer orders until appropriate staffing was

able to be put in place.”7

          55.   Blue Apron claimed to have learned from these problems and addressed its

operations. In October 2016, Blue Apron told Buzzfeed that it had “learned from the operational

challenges during its early days in Richmond” and that it was “proud of the culture, processes,

and workplace that exist there today, as well as throughout the country.”8

          56.   In the meantime, Blue Apron also kept scaling its operations and trying to develop

more advanced manufacturing capabilities that would allow it to offer more flexible product

offerings.

          57.   In 2016, Blue Apron started building two new fulfillment centers in Linden, New

Jersey and in Fairfield, California. Blue Apron announced these two new fulfillment centers in a

press release on February 6, 2017. The press release stated that the Company was “expanding its

fulfillment operations in New Jersey with the opening of a new 495,000 square foot fulfillment

center in Linden” where it “expect[ed] to employ over 2,000 people.” The press release

continued:

          “We’re excited to be expanding our presence in New Jersey and bringing full-
          time jobs to the Linden community. Our new fulfillment center will help
          improvethe efficiency and capacity of our operations to meet strong customer
          demand,” said Matt Salzberg, Blue Apron co-founder and CEO.

          The Linden facility will be outfitted with state-of-the-art technology and a
          variety of employee amenities. The fulfillment center is currently under
          construction and slated to officially open for production later this year.




7
    Id.
8
    Id.



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       “We are thrilled that Blue Apron is investing in Linden with its new facility,” said
       Linden Mayor Derek Armstead. “The company’s decision to come here will be a
       boost for our local economy, providing much needed jobs to our area. We look
       forward to having Blue Apron as a partner in our community.”
       Blue Apron currently operates fulfillment centers in Jersey City, NJ, Arlington,
       TX, and Richmond, CA. In addition to its new Linden facility, the company also
       plans to open a new fulfillment center in Fairfield, CA in 2018.

       58.    As Bloomberg later reported, leading up to the IPO, a “key part of the pitch to

Wall Street was the new fulfillment facility in Linden, New Jersey. Equipped with automated

machinery that can get boxes out the door more quickly and reduce human error, the facility was

supposed to handle more than half of all production.”9 However:

       Behind the scenes, however, all was not well. A new fulfillment center was
       months behind schedule and still wasn’t ready for prime time six weeks before
       the IPO. The company had already postponed the listing once in case high
       marketing costs spooked potential investors. Losing money, Blue Apron was
       struggling to attract customers amid rising competition, risks it highlighted in a
       filing. Still, executives and their advisers, led by Goldman Sachs, Morgan
       Stanley, Citigroup and Barclays, decided to proceed with an IPO.

       59.    Multiple former employees confirmed that, before the IPO, the Linden center was

encountering major undisclosed problems, repeatedly delaying and disrupting its planned

opening.

       60.    The Linden facility began running into repeated delays in early 2017 due to

construction and equipment issues. According to FE 1, these included problems with walk-in

refrigerators and freezers (which, given Blue Apron’s business, made up most of the facility),

and problems with heating and air conditioning.



9
  Jing Cao & Alex Barinka, How Blue Apron Wooed Then Disappointed Wall Street: Even as
executives talked up the meal-kit business, they were battling operational issues, Bloomberg
(Dec.     6,    2017,     8:59   AM;     corrected,   Dec.     12,    2017,     9:06   AM),
https://www.bloomberg.com/news/articles/2017-12-06/how-blue-apron-wooed-then-
disappointed-wall-street.



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       61.     According to FE 4, Linden was so far behind schedule that, by the time it finally

shipped its first box, it should have been packaging between 5,000 and 6,000 meals each day.

But because of Blue Apron’s constant attempts to cut corners, equipment kept breaking and the

facility struggled to ramp up production.

       62.     According to FE 5, the construction of Linden’s assembly lines was significantly

behind schedule, particularly with regard to key electrical components, and Linden also had

ongoing issues running power to the lines that caused significant delays.

       63.     According to FE 8, the Company distributed flyers to all employees from mid-to-

late 2016 through August 2017 regarding the delays at Linden. The fliers addressed the

Company’s constantly changing estimates of when employees would be able to start working at

Linden. By the time of the IPO, Blue Apron had been issuing internal statements about the

delays for months.

       64.     Indeed, as FE 5 recalled, there were still delays at Linden when Blue Apron went

public. The Company had trouble ramping up to the rate of production they were supposed to be

at. According to FE 4, by mid-summer 2017, Linden was still experiencing the problems that had

hampered production for months: equipment malfunctions, product shortages, and inexperienced

workers.

       65.     In addition, due to Blue Apron’s heavy use of temporary non-unionized workers,

union laborers began picketing outside the Linden facility in early 2017. According to FE 1 and

FE 4, the labor protests were widely known within Blue Apron.

       66.     FE 5 reported that job satisfaction among Blue Apron’s factory workers was

consistently low and employee turnover was consistently high. FE 4 also noted that Blue

Apron’s workforce was poorly trained and experienced constant turnover. Without a skilled,



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trained and experienced workforce, hitting production targets was difficult, and in fact hitting

production goals was the exception rather than the norm at the Linden facility. As FE 4 noted,

the employees sent over by various temporary employment agencies were unfamiliar with and

unable to operate the new machinery the Company had installed at the Linden plant, resulting in

delays.

          67.   Moreover, according to multiple former employees, the IPO Defendants were all

very closely involved with the Linden facility and intimately familiar with the problems and

delays.

          68.   According to FE 3, the Company held weekly “All Hands” meetings which FE 3

attended, led by either Salzberg or Dickerson, where executives discussed trend lines and the

challenges facing their business. Everyone at headquarters attended the meetings, and corporate

employees who were stationed elsewhere joined in via video conference.

          69.   FE 3, who worked at the Company’s New York City headquarters, noted that

Salzberg, Dickerson, Chief Operating Officer Matthew Wadiak, Chief Marketing Officer Jared

Cluff, and Chief Technology Officer Ilia Papas were all very involved in day-to-day operations.

          70.   According to FE 5, Salzberg and Wadiak visited the new facility in Linden at

least once a month to observe construction progress and see how the targeted production ramp up

was progressing; co-founder Ilia Papas visited also, but less frequently. FE 5 reported regularly

walking the production floor at Linden with Wadiak during his visits, and it was clear from

Wadiak’s comments during their walks that he was aware the facility was not operating at target

levels.

          71.   FE 5 further reported that several Blue Apron directors also paid the Linden

facility frequent visits. Senior Director of Operational Excellence Sergio Huerga visited regularly



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to observe the progress the Linden crew was making toward ramping up to target production

levels.

          72.   According to FE 5, it was obvious based on the Linden facility’s production

numbers that the plant was struggling, and the directors and executives did indeed view those

metrics during their visits. The ramp-up plan included quantity and timing goals for production,

so it was evident from viewing the plant’s actual numbers that the Company was not meeting

those goals.

          73.   According to FE 6, Blue Apron tracked Key Performance Indicators (“KPIs”) at

the warehouse each day, and he was required to submit daily reports on productivity. Among the

KPIs were boxes-per-hour and labor-hours-per-box.

          74.   According to FE 5, Blue Apron’s fulfillment centers stayed on top of numerous

metrics to evaluate their own performance. The metrics included overall performance, cost,

quality, internal metrics reporting, efficiency of operations, and profitability of operations.

          75.   FE 4 reported that OTIF performance was regarded as one of several key metrics

the entire time he worked at Blue Apron.10 The belief communicated to FE 4 by supervisors at

Linden was that once the facility ramped up to full capacity and the staff grew accustomed to the

new facility, then the metrics should improve.

          76.   According to FE 2, customers regularly complained that their orders had been

botched or were missing key condiments or spices. FE 4 also noted frequent issues with missing

order items and, when that occurred, the time required to fix it placed a significant drag on


10
  The Company later confirmed that it had consistently tracked its OTIF rates internally. For
example, Salzberg stated on November 7, 2017 that Blue Apron had “been consistently tracking
OTIF” and considered it to be “one of the key metrics we look at in terms of customer
experience.”



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operations. The Company was experiencing challenges related to getting orders to customers in a

timely manner throughout FE 4’s tenure at Blue Apron.

       77.     According to FE 7, Salzberg, Papas, and Wadiak were very involved in managing

the Company’s operations and they were always called on to weigh in on big decisions. The

three founders were absolutely aware of the delays and disruptions at the Linden facility because

according to FE 7, the delays were often discussed during operations meetings, which were held

once every other month in Richmond, as well as during weekly operations calls. According to FE

7, all three founders participated in the operations calls. Salzberg almost always led the weekly

operations conference calls and Wadiak was a regular participant. FE 7 reported that, in light of

these repeated discussions at the meetings and conference calls in which he participated, the

executives certainly knew about the delays, but were unable or unwilling to push back the IPO.

VI.    MATERIALLY FALSE AND MISLEADING STATEMENTS IN THE IPO
       MATERIALS

       78.     The IPO Registration Statement and IPO Prospectus were materially false and

misleading in that they failed to “provide such other information that the registrant believes to be

necessary to an understanding of its financial condition, changes in financial condition and

results of operations” and to “[d]escribe any known trends or uncertainties that have had or that

the registrant reasonably expects will have a material favorable or unfavorable impact on net

sales or revenues or income from continuing operations,” as mandated by Item 303 of Regulation

S-K (17 C.F.R. §229.303) and the SEC’s related interpretive releases thereto.

       79.     The Instructions to Item 303 further require that the Management’s Discussion

and Analysis of Financial Condition and Results of Operations “shall focus specifically on

material events and uncertainties known to management that would cause reported financial




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information not to be necessarily indicative of future operating results or of future financial

condition.”

       80.     In particular, the SEC has clarified that “companies should identify and discuss

key performance indicators, including non-financial performance indicators, that their

management uses to manage the business and that would be material to investors.”

       81.     In violation of this requirement, Defendants failed to disclose known material

trends that would have a material impact on net sales or revenues or income from continuing

operations and that would cause reported financial information not to be necessarily indicative of

future operating results, including that: (i) Blue Apron was already experiencing adverse OTIF

rates; (ii) significant delays had already materialized in opening and ramping up production at

the Linden facility; (iii) the already-materialized adverse OTIF rates and delays at Linden were

hindering the Company’s customer retention and would necessarily delay the Company’s

announced plans to add new products, which would be essential to gain new customers and

compete effectively in the marketplace; and (iv) because of the already-materialized adverse

OTIF rates and delays at Linden, Blue Apron had already decided it would be forced to change

its strategic approach for the remainder of 2017 by reducing marketing spending until it could

address its operational problems and improve its margins and OTIF rates.

       82.     According to the IPO Prospectus, the Company’s value proposition for

stockholders had three components: “Scale and Growth”, “Attractive and improving margins”,

and “Unit economics”. Elaborating, the IPO Prospectus claimed that “[a]s we have improved our

supply chain, we have achieved attractive and improving margins” and that the Company

“anticipated declines in cost of goods sold as a percentage of net revenue” which “we expect to

result in attractive lifetime customer values.” Elsewhere in the IPO Prospectus, it also claimed



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that the Company had “Attractive unit economics” and that “[a]s we have continued to scale our

business, grow our direct supplier relationships, and introduce increased automation into our

fulfillment centers, we have become more cost efficient.”

       83.     These statements were false and misleading because Defendants failed to disclose

that (i) Blue Apron was already experiencing adverse OTIF rates; (ii) significant delays had

already materialized in opening and ramping up production at the Linden facility; and (iii) due to

the already-materialized adverse OTIF rates and the persistent delays at the Linden facility, the

Company’s unit costs had increased, margins had narrowed, and the Company had not become

more cost efficient in its efforts to scale up—as the Company later admitted in August 2017.

       84.     With respect to the Company’s fulfillment centers, the IPO Prospectus stated:

       We are completing the build out of a new fulfillment center in Linden, New
       Jersey, which we have recently begun to utilize, and have entered into a lease for
       another new fulfillment center in Fairfield, California, which is currently under
       construction. Upon completion of the build out, the new fulfillment center in
       Linden, New Jersey will occupy approximately 495,000 square feet of space
       pursuant to a lease expiring in August 2026 with an option to extend the term for
       two consecutive five-year periods. The new fulfillment center in Fairfield,
       California will occupy approximately 431,000 square feet of space pursuant to a
       lease expiring 126 months after the commencement date, which expiration is
       currently estimated to be in early 2028, with an option to extend the term for two
       consecutive five-year periods. Upon completion of our new fulfillment centers in
       Linden, New Jersey and Fairfield, California, we anticipate that such
       fulfillment centers, together with our Arlington, Texas fulfillment center, will
       comprise our primary fulfillment operations for the foreseeable future.

       85.     This statement was false and misleading because it discussed the progress of

construction at the Linden fulfillment center and claimed that the Company had “recently begun

to utilize” it—creating the impression that construction and operational improvements at Linden

were proceeding on schedule—but failed to disclose that (i) Blue Apron was already

experiencing adverse OTIF rates; and (ii) significant delays had already materialized in opening

and ramping up production at the Linden facility.


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      86.    The IPO Prospectus also stated:

      If we do not have sufficient fulfillment capacity or experience problems or delays
      in fulfilling orders, our customers may experience delays in receiving their meal
      deliveries, which could harm our reputation and our customer relationships
      and could materially adversely affect our business, financial condition and
      operating results….

      We have designed and built our own fulfillment center infrastructure, including
      customizing third-party inventory and package handling software systems, which
      is tailored to meet the specific needs of our business. Furthermore, we are
      expanding the use of automated production equipment and processes in our
      existing fulfillment centers and are incorporating automated production
      equipment and processes into our new Linden, New Jersey fulfillment center that
      we are in the process of building out. As we continue to add capacity, capabilities
      and automated production equipment and processes to our fulfillment centers, our
      fulfillment operations will become increasingly complex and challenging. Any
      failure to hire, train or retain employees capable of operating our fulfillment
      centers could materially adversely affect our business, financial condition and
      operating results. We also may be unable to procure and implement automated
      production equipment and processes on a timely basis, and they may not
      operate as intended or achieve anticipated cost efficiencies. For example,
      suppliers could miss their equipment delivery schedules, new production lines and
      operations could improve less rapidly than expected, or not at all, the equipment
      or processes could require longer design time than anticipated or redesigning after
      installation, and new production technology may involve equipment and
      processes with which we are not fully experienced. Difficulties we experience in
      automating our fulfillment processes could impair our ability to reduce costs
      and could materially adversely affect our business, financial condition and
      operating results.

      87.    The IPO Prospectus also stated:

      Developing and launching new product offerings or enhancements to our existing
      product offerings involves significant risks and uncertainties, including risks
      related to the reception of such product offerings by our existing and potential
      future customers, increases in operational complexity, unanticipated delays or
      challenges in implementing such offerings or enhancements, increased strain on
      our operational and internal resources (including an impairment of our ability to
      accurately forecast demand and related supply) and negative publicity in the event
      such new or enhanced product offerings are perceived to be unsuccessful. We
      have scaled our business rapidly, and significant new initiatives have in the past
      resulted in, and in the future may result in, operational challenges affecting our
      business.




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       88.     These statements were false and misleading because they portrayed these risks as

purely hypothetical but failed to disclose that (i) Blue Apron was already experiencing adverse

OTIF rates; (ii) significant delays had already materialized in opening and ramping up

production at the Linden facility; and (iii) as a result, the specified risks such as “problems or

delays in fulfilling orders” and “operational challenges” and a failure to “achieve anticipated cost

efficiencies” had already materialized and were, in fact, “materially adversely affect[ing] our

business,” not merely “in the past” but also at present and continuing into the foreseeable future.

       89.     The IPO Prospectus stated that the Company was focused on launching its new

Linden fulfillment center and on launching its planned product expansion, and that it therefore

expected operating expenses to decrease in the second quarter of 2017:

       In the second quarter of 2017, we expect to invest significantly less in marketing
       compared to the first quarter of 2017 due to the seasonal factors discussed
       above, the ongoing operational effort associated with launching our new
       fulfillment center in Linden, New Jersey, and our planned product expansion to
       offer greater flexibility in recipes. As a result, while we expect significant year-
       over-year net revenue growth from the second quarter of 2016 to the second
       quarter of 2017, we anticipate that our quarterly net revenue in the second quarter
       of 2017 will be modestly lower than the seasonally high level of net revenue in
       the first quarter of 2017, which decline will be more than offset by a reduction in
       our operating expenses, including a significant planned reduction in our
       marketing expenses due to our seasonal marketing strategies.

       90.     This statement was false and misleading because it discussed the Company’s

“ongoing operational effort associated with launching our new fulfillment center in Linden, New

Jersey, and our planned product expansion to offer greater flexibility in recipes” but failed to

disclose that (i) Blue Apron was already experiencing adverse OTIF rates; (ii) significant delays

had already materialized in opening and ramping up production at the Linden facility; (iii) the

already-materialized adverse OTIF rates and delays at Linden would necessarily delay the

Company’s “planned product expansion”; and (iv) because of the already-materialized adverse



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OTIF rates and delays at Linden, Blue Apron had already decided it would be forced to change

its strategic approach for the remainder of 2017 by reducing marketing spending—not merely as

part of “seasonal marketing strategies” but because it needed to address these already-

materialized operational problems.

       91.     The IPO Prospectus stated that part of the Company’s growth strategy was to

“expand our core product to fit more lifestyles,” elaborating:

       As we expand our operational capabilities, increase the automation in our
       fulfillment centers, and grow our supplier network, we plan to expand our core
       product by offering greater flexibility in the number of recipes per order and
       greater diversity in the number of recipes from which customers may choose. In
       the future, we may introduce similar flexibility for wine. We are developing
       product expansion initiatives to fit the lifestyles of a broader customer set in order
       to continue to expand our addressable market and drive greater satisfaction among
       current customers, thereby increasing their Average Order Value and rate of
       Repeat Orders.

       92.     This statement was false and misleading because Defendants claimed that the

Company was “expand[ing] our operational capabilities” and “developing product expansion

initiatives” but failed to disclose that (i) Blue Apron’s operational capabilities were actually

worsening because the Company was already experiencing adverse OTIF rates; (ii) significant

delays had already materialized in opening and ramping up production at the Linden facility; and

(iii) the already-materialized adverse OTIF rates and delays at Linden would necessarily delay

the Company’s “product expansion initiatives.”

       93.     The Prospectus also stated that Blue Apron was already in the process of

introducing new products which would help increase the Company’s sales and profits:

       We are currently in the process of introducing additional product expansions to
       increase both customer flexibility (the ability to select greater or fewer recipes per
       Order) and the number of recipe options (the ability to choose from a greater
       number of recipes each week). We expect that this product expansion will
       favorably impact our cumulative net revenue per Customer.



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       94.     This statement was false and misleading because the already-materialized adverse

OTIF rates and delays at Linden were necessarily delaying any “additional product expansions,”

and therefore Defendants had no reasonable basis to “expect that this product expansion will

favorably impact our cumulative net revenue per Customer” until after the OTIF rates and delays

at Linden could be addressed.

       95.     With respect to the Company’s ability to fulfill orders and achieve operational

efficiencies, the IPO Prospectus stated:

       Our strategic investments in our fulfillment center operations will significantly
       impact our ability to continue to grow our business, introduce new products,
       increase variety to customers, and create efficiencies in our cost structure. We
       have made significant investments to scale our operations and support the growth
       of our business, and we plan to continue this investment. In the near term, we
       plan to further invest in equipping our fulfillment centers with automated
       portioning and packaging equipment, which we believe will increase our
       operational efficiency.

       96.     This statement was false and misleading because it stated that the Company had

invested in “automated portioning and packaging equipment” and suggested that the Company

therefore had a reasonable basis to believe that “further” investments would “increase our

operational efficiency.” But it failed to disclose that (i) Blue Apron’s operational efficiency was

actually worsening because the Company was already experiencing adverse OTIF rates as well

as significant delays in opening and ramping up production at the Linden facility; and (ii)

Defendants therefore had no reasonable basis to project that the Company’s operational

efficiency would increase in the near term.

VII.   THE TRUTH BEGINS TO EMERGE

       97.     Blue Apron’s stock price began dropping almost immediately after the IPO,

closing at $9.34 on June 30, 2017; $7.73 on July 7, 2017; and $7.36 on July 14, 2017. By July

21, 2017, Blue Apron’s stock price had fallen to $6.55—34.5% below its $10 IPO price.


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       98.     Before July 24, 2017, only one analyst initiated coverage of Blue Apron:

Northcoast Research, which initiated coverage on July 11, 2017 with a Sell rating and a $2 price

target, predicting “continued losses” because Blue Apron’s “[s]ales growth seems to be

dependent at this time upon promotional discounts.”

       99.     On July 24 and 25, 2017, Blue Apron’s underwriters began initiating coverage of

Blue Apron. Their price targets ranged from $7 to $14, but all of them expected Blue Apron’s

stock to rise above its $6.55 closing price on July 21, 2017.

       100.    Some of the underwriters were optimistic that Blue Apron would rise above its

IPO price, including Canaccord Genuity ($14, buy), SunTrust Robinson Humphrey ($12, buy),

Goldman Sachs ($11, buy), and Oppenheimer ($11, outperform). Others expected Blue Apron to

return to its IPO price, including Needham ($10), RBC Capital ($10, outperform), Citi ($10,

buy), and Stifel Nicolaus (buy, $10 price target).

       101.    These analysts’ reports confirm the market’s understanding, based on the

Company’s statements in the IPO Prospectus, that Blue Apron’s operations were improving, that

its new fulfilment centers and planned new product rollouts remained on schedule, and that Blue

Apron would therefore be able to address challenges such as increasing competitive pressure.

       102.    For example, RBC noted its belief that “APRN is in the midst of expanding its

offering to enhance flexibility – different price points, more delivery options and more recipe

choices” and that “[i]n our view, the success of this effort is key to whether APRN can re-

accelerate growth”—ultimately concluding that Blue Apron’s “new product and service

initiatives enhance its consumer value proposition and will lead to re-accelerating growth in

FY18.” Stifel was impressed by the Company’s “sophisticated, technology-driven supply chain

and logistics network which should support its leading position in the crowded meal kit company



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landscape.” Goldman Sachs expected Blue Apron to be able to “maintain[] its lead… with more

rational economics,” including its ability to keep inventory levels down and minimize food

waste. Oppenheimer liked Blue Apron’s attractive gross margin profile, expected gross margins

to continue to improve, and was optimistic that new product offerings would help Blue Apron’s

customer retention. Raymond James was concerned about “high churn rates, slowing subscriber

growth, and marketing deleverage” but was “optimistic that more flexible plans will drive

increased order frequency.” William Blair was concerned that customer acquisition costs would

keep rising due to heavy competition, but was optimistic that Blue Apron’s margins would

continue to improve due to greater automation.

       103.    On July 25, 2017, Blue Apron announced significant “changes to its executive

leadership team.” Most significantly, co-founder Matthew Wadiak was stepping down from his

role as COO and would “transition to serve as a senior advisor” to the Company.

       104.    The combination of favorable analyst coverage from the underwriters and the

news of Blue Apron’s executive restructuring temporarily reassured investors. From July 21 to

July 25, Blue Apron’s stock rose from $6.55 to $7.50. But on July 26, 2017, it fell again, closing

at $6.75. By August 4, 2017, it was down to $5.83.

       105.    The full truth emerged on August 10, 2017, when Blue Apron announced its

results for the second quarter of 2017, issuing a press release, holding an earnings call, and filing

its quarterly report on Form 10-Q for the quarter ended June 30, 2017 (the “2Q 2017 10-Q”).

       106.    The Company shocked investors by revealing that its much-touted new fulfillment

center in Linden, New Jersey—which according to the IPO Prospectus was supposed to be

“outfitted with state-of-the-art technology” and “help improve the efficiency and capacity of our

operations to meet strong customer demand”—had, according to the 2Q 2017 10-Q, run into



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“unexpected complexities and costs…which are adversely affecting our revenue expectations,

the rollout of our new product offerings, and our ability to acquire and retain new customers.” As

Salzberg explained on the earnings call:

       Another factor that impacted the second quarter was the timing of our product
       expansion. As you know, we are currently in the process of rolling out significant
       changes to our infrastructure both from an operational and technological
       perspective to allow us to offer a more diverse and personalized product
       assortment to our customers. The reality is, we are behind on this work and that
       delay impacted our second quarter results as well as our near-term outlook,
       which Brad will review shortly.

       Much of the delay is related to the launch of our Linden fulfillment center, the
       newest and most automated facility in our network. Linden shipped its first
       delivery on May 15th, but in the second quarter still only represented
       approximately 3% of our network’s national volume. As we have moved into the
       third quarter, we are transitioning more volume from our older Jersey City center
       to Linden, and Linden will represent a larger percentage of our national volume in
       the back half of the year. During this ramp phase, Linden will be operating at a
       significantly worse margin than our other centers; however, we still believe that
       Linden will ultimately become our most efficient center when fully scaled.

       The delay is related to experiencing greater operational complexity than we
       initially planned for.

       107.    Salzberg also revealed that the Company’s OTIF rates had been worsening:

       [W]e are seeing worse OTIF rates which impacts – and OTIF, since we haven’t
       used that metric a lot publicly, just so you guys know is on-time in full, and the
       way we think about that, it’s about delivering on-time to the customer, and by in
       full we mean 100% order completeness. So, a missing ingredient would impact, a
       mis-pick would impact that, and that’s actually one of the biggest challenges
       right now on our OTIF rates, because so much of the process in our fulfillment
       centers is brand new and the change management associated with training
       thousands of employees and managers on the new process and getting process
       compliance is just taking us a little bit longer than we had previously
       anticipated. This is the most ambitious organizational change we’ve made. So,
       when those OTIF rates are suffering, they also impact the order frequency and
       cadence of those new customers as well. And so, one of the reasons that we are
       choosing to pull back on marketing in the back half of the year is because we
       are focused on only generating incredible returns on our marketing and when we
       see drivers in that equation move, we act in terms of managing the business as
       rapidly as we can, and so that’s the impact there.



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       108.   In response to an analyst question, Salzberg ultimately admitted that the OTIF

problems were not limited to Linden:

       So we have seen impact on our OTIF rates across all of our centers because of
       the roll out of our new infrastructure. That being said, it is most pronounced in
       Linden, which is just very newly being ramped right now and it is the most
       automated and advanced center with the most new people and infrastructure. So
       there is more impact in Linden then there is in the rest of the country.

       109.   Salzberg further admitted during the earnings call that the OTIF metric was

incredibly important to the Company’s business:

       We are hyper-focused on maintaining strong performance on metrics like on-
       time in-full, or OTIF, to ensure seamless customer experiences and will be more
       deliberate in expanding our offerings to customers with the current
       performance levels. We know lower than average OTIF scores directly impact
       our customer lifetime values, especially for customers early in their lifecycle
       with us, and we have seen some impact as part of this rollout. Since margins
       and OTIF are both drivers of customer lifetime value, when they are impacted it
       affects the returns on our acquisition marketing as well. The interconnectedness
       of these drivers ultimately flows through to growth and financial performance.

       110.   As Dickerson further elaborated:

       [T]he delays we’ve been having in our product expansion are impacting our
       ability on the acquisition side to drive incremental revenue through new
       customers because obviously those offerings are very, very important to attract
       new customers, as Matt had talked about. So, that is part of the impact.

       Obviously the challenges in rolling out our product offerings, specifically
       challenges in rolling out the Linden facility impacting our OTIF rates also
       causes some short term concerns with our customer engagement and retention.
       Specifically, as Matt mentioned, in newer customers also. That is obviously part
       of the back half of the year guidance….

       It’s really hard to kind of separate how much of this was due to the delay in
       rollout and the impact of OTIF rates versus the pullback in marketing to some
       degree, because they’re all kind of interconnected to some degree, but I would say
       that they probably all play a relatively important part of this revenue guidance in
       the back half of the year with the marketing call down probably, I would say,
       being the most significant piece of it, but I don’t want to understate the impact of
       the delay in rolling out our product expansion and also the OTIF rates, which
       are very, very important.



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       111.   Due in part to the Linden delays and the broader OTIF problems, Blue Apron’s

revenues and customer numbers actually declined—a big shock for a newly public company

whose net losses were getting worse each year and whose revenue growth had always been

primarily driven by customer growth. In the first quarter of 2017, Blue Apron had 1.04 million

customers, 4.3 million orders, and $244.1 million in revenue—but in the second quarter, it had

only 943,000 customers, 4.0 million orders, and $238.1 million in revenue.

       112.   Even worse, the operational challenges and associated expenses were likely to get

worse in the third quarter of 2017. Specifically, according to Dickerson, the “majority of the

operational pressure is expected in the third quarter as we fully transition from our existing

Jersey City center to our new Linden center and increase the velocity of our current product

expansion efforts nationally across all our fulfillment centers.” The 2Q 2017 10-Q confirmed

this, stating that Blue Apron “expect[ed] increased expenses driven by the ongoing launch of

new infrastructure to support our product expansion initiatives, including the launch of our new

Linden, New Jersey fulfillment center, to continue throughout the remainder of 2017.”

       113.   As a result of all this, CFO Brad Dickerson stated during the earnings call that

Blue Apron had been forced to “change[] our strategic approach in managing the business for

the remainder of 2017”:

       As Matt mentioned earlier, we are working through unexpected complexities and
       costs that have arisen with the ongoing launch of our Linden facility as well as
       our current product expansion initiatives. These complexities have arisen within
       the last month as we continue to transfer more and more volume from our existing
       center in Jersey City to our new center in Linden. Currently, our Linden center is
       approaching the volumes of our other existing centers compared to minimal
       volume in the second quarter.

       In addition to the significant impact to our near-term labor costs included in
       cost of goods sold, these issues are also having a meaningful impact to our
       revenue expectations as the delays in rolling out our new product offerings
       create headwinds to acquisition of new customers and challenges around on-


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       time in full rates impact retention of newer customers. This recent operational
       development and its expected near-term effect on net revenue and cost of goods
       sold, in addition to the smaller raise of capital in our IPO than originally
       anticipated, has changed our strategic approach in managing the business for the
       remainder of 2017.

       As Matt mentioned, the interconnectedness of cost of goods sold and on-time in-
       full and their effects on marketing efficiency are important drivers of financial
       performance. Because of these factors, we will be reducing our marketing spend
       in the back half of the year which will in turn have an obvious additional impact
       to the company’s top-line growth.

       114.   Salzberg summarized how the Linden delays and broader OTIF problems had

forced Blue Apron to change its strategic approach:

       …the launch of Linden, in particular, has caused our on-time in full rates to be
       lower than where we are comfortable with, which is why we are delaying some
       of that launch and taking it a little more deliberately because we’re focused on
       making sure that all of our customers have seamless customer experiences. So,
       when our OTIF rates are worse than we would like, it does impact early
       customer lifecycle, lifetime value somewhat, and that is one of the reasons why
       we are being more conservative on acquiring customers during this back half of
       the year while we are working through completing the launch in a high quality
       way so that all of our customers always get an incredible experience from Blue
       Apron.

       115.   Notably, the factors Dickerson and Salzberg cited as chief reasons for changing

the Company’s strategic approach—adverse OTIF rates and persistent delays in opening and

ramping up the Linden facility—were in fact present at the time of the IPO. Thus the Company

must have changed its strategic approach when it was experiencing the OTIF issues and Linden

delays leading up to the IPO, not just in August when the Company first publicly revealed the

ongoing issues.

       116.   As a result of the “changed…strategic approach,” the Company had to issue

guidance for the remainder of the year that was significantly below what analysts and the market

had been led to expect. Blue Apron now expected $380-400 million in revenue, and a net loss of

$121-128 million, in the second half of 2017. This was even lower than the $421 million in


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revenue that Blue Apron had generated in the second half of 2016. Blue Apron also reduced its

guidance with respect to capital expenditures. In the IPO Prospectus, Blue Apron had stated that

its “projected remaining capital expenditures are expected to amount to approximately $100.0

million to $180.0 million in the aggregate for 2017 and 2018.” But now in the earnings call,

Salzberg disclosed that it had decreased to $75 million to $115 million—in part because, given

the problems with OTIF and the delays at Linden and the lack of growth in customers, Blue

Apron no longer saw an urgent need to complete its planned new fulfillment center in Fairfield,

California.

       117.    Investors and analysts were blindsided by these revelations. Matthew Levy at

Seeking Alpha, in fact, described Linden as the “Big Blindside.”11

       118.    Before August 10, 2017, analysts were not expecting operational delays at

Linden, worsening OTIF rates, or delays in the Company’s planned product expansions.

       119.    In fact, Bloomberg had reported on August 4, 2017—and Blue Apron had

confirmed—that the Company was planning to close its Jersey City center in October 2017 and

moving all of its operations to the new Linden center.12

       120.    As recently as August 8, 2017, RBC had reiterated its $10 price target in a report

that mentioned a possible “downside scenario” in which Blue Apron’s stock might fall to $5 due

to “slower-than-expected growth driven by operational delays at its new Linden, NJ fulfillment



11
  Matthew Levy, Why Blue Apron Is Falling: A Q2 Summary, Seeking Alpha (Aug. 10, 2017
10:32 AM ET), https://seekingalpha.com/article/4097315-blue-apron-falling-q2-summary.
12
   Jing Cao, Blue Apron Is Closing Facility and Moving 1,270 Jobs, Bloomberg (Aug. 4, 2017,
11:58     AM       EDT;      corrected      Aug.    4,     2017,     3:35    PM        EDT),
https://www.bloomberg.com/news/articles/2017-08-04/blue-apron-plans-to-cut-24-of-staff-
barely-a-month-since-ipo.



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center and executional missteps related to its planned product expansion initiatives.” Notably,

based on the information available in the market at the time, RBC did not consider this risk

significant enough to reduce its $10 price target. Instead, RBC simply stated its understanding

that “Management has noted that they expect to complete their Linden, NJ Fulfillment Center

and rollout of their planned product expansion in Q3/Q4. The product expansion is central to

APRN’s growth strategy and we look forward to a progress update.”

       121.   Analysts and commentators quickly realized that the newly-disclosed problems

were a severe setback for Blue Apron—from which the Company might not be able to recover.

       122.   The Motley Fool13 was concerned about the “rapid deceleration of growth” and

unconvinced by the Company’s excuses:

       It can’t lean on seasonality as a scapegoat, as revenue moved higher between the
       first and second quarters of 2015 and 2016. Blue Apron blames the sequential dip,
       in part, on a planned reduction in marketing spend of $26.1 million between the
       two periods, but that’s only going to make investors think that the dot-com dud
       was inflating sales ahead of its IPO.

       The news only gets worse as we work our way down the income statement’s
       ingredients. Cost of goods sold is growing faster than revenue, which may lead
       fence-straddlers to wonder if scalability will be enough to drive profit growth in
       the near term.
       123. As Recode14 aptly summarized:
       One of the clouds hanging over Blue Apron since its IPO has been the looming
       threat of what an Amazon-Whole Foods combination could mean for its business.




13
  Rick Munarriz, Blue Apron Makes a Brutal First Impression, Motley Fool (Aug 10, 2017 at
3:23PM),          https://www.fool.com/investing/2017/08/10/blue-apron-makes-a-brutal-first-
impression.aspx.
14
  Jason Del Rey, Blue Apron is stuck in a dangerous cycle that has nothing to do with Amazon,
Recode (Aug 11, 2017, 6:00am EDT), https://www.recode.net/2017/8/11/16127050/blue-apron-
q2-earnings-warehouse-issues-linden-new-jersey-matt-salzberg.



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       But when Blue Apron’s stock got hammered on Thursday, falling more than 17
       percent by day’s end, that had nothing to do with it; it was the company’s
       disappointing financial forecast for the back half of the year that was the
       culprit.

       The company is in the midst of a vicious cycle that goes something like this: Blue
       Apron is experiencing warehouse issues that are causing customer satisfaction
       issues that are causing retention issues that are causing marketing issues that are
       causing revenue issues.

       Got that? Let’s go piece by piece, starting at the top.

       Blue Apron announced on Thursday that it has encountered “unexpected
       complexities” with the opening of a new, highly automated warehouse in Linden,
       N.J., and that the transition from its previous New Jersey warehouse is taking
       longer than expected. (This probably explains the exit of the company’s co-
       founder and Chief Operating Officer Matthew Wadiak, which was announced
       just last month.)

       At the same time, Blue Apron has been adding new technology and processes to
       its other warehouses that require a lot of training….

       The result has been mistakes that are hurting Blue Apron’s OTIF rates — that is,
       the percentage of orders that arrive on time and with all the correct ingredients (in
       full), the company said. What happens when a new customer tries out Blue Apron
       for the first time and gets a late delivery or wrong ingredients? Yep, they bail.
       And when Blue Apron’s new customers are bailing at a higher rate than before,
       Blue Apron’s marketing investments become less efficient. Or, said another way,
       the company wastes marketing dollars.

       … But what happens when you plan to aggressively ramp down marketing, from
       20 percent of revenue in the first half of the year to around 15 percent in the back
       half? Your revenue forecasts suffer….

       The good news Blue Apron is trying to pitch to investors is that they believe most
       of the warehouse hurdles are behind them and that the new facility is taking on
       more and more of the company’s volume.

       That trend will be crucial, since the company’s ability to roll out new product
       enhancements — like the choice of ordering two meals a week instead of three —
       is crucial to it building a sustainable business that can retain existing customers
       and attract new ones affordably.

       124.   Accordingly, analysts responded by significantly lowering their price targets or

even removing them altogether.


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       125.    SunTrust reduced its price target from $12 to $5.50, emphasizing that

“[e]xecution issues (and not competition) caused the slowdown in topline.” It elaborated that

“APRN has not seen a significant change in the competitive dynamics in recent months,” but

“slower than expected ramp-up of the new FC in Linden coupled with operational challenges

across the 3 fulfillment centers (FCs) as a result of infrastructure upgrades, has caused mgt. to

rein in marketing/customer acquisition spending as it works to resolve these issues.” SunTrust

further noted its concern about “a lack of visibility on timing for a full recovery and costs

associated with the effort.”

       126.    Oppenheimer removed its price target altogether, writing that “[w]hile the issues

surrounding the transition to a larger automated fulfillment center in NJ were partially

understood, APRN is also seeing On-Time-In-Full (OTIF) issues with its legacy West Coast

facility, suggesting scaling challenges greater than anticipated.” And Goldman Sachs wrote that

“we were clearly wrong in our estimate of the logistical challenges of this transition.”

       127.    Following this news, Blue Apron stock dropped $1.10 per share or over 17% to

close at $5.14 per share on August 10, 2017, a 50% drop from the IPO price.

       128.    However, even this reduced price point did not reflect the true value of Blue

Apron’s stock, as the market continued to learn more about the Company’s setbacks in trying to

ramp up production.

       129.    Over the next few months, Blue Apron struggled to address its operational

problems but with limited success, leaving it unable to compete effectively and causing investors

to become increasingly impatient.

       130.    The Company also continued to struggle with staffing problems. On August 22,

2017, Bloomberg reported that Blue Apron had “implemented a temporary hiring freeze of



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salaried employees and fired part of its recruiting team just as it ramps up a new fulfillment

center that’s supposed to help the troubled, newly public company expand.” The “fired recruiters

included staff who helped find operations and technical employees.” Moreover, according to

Bloomberg, the Company was having “trouble keeping enough workers on the production

lines, especially at the Jersey City facility”—which was why “Linden began operating in May,

a few months later than originally planned.”15

       131.    In the meantime, Blue Apron lost market share to its competitors because its

operational problems prevented it from competing effectively. By September 2017, Blue

Apron’s market share was down to 40.3%, compared to 57% in September 2016. Meanwhile,

HelloFresh’s market share jumped 10% to 28.4%, while Sun Basket’s market share doubled to

8%.16 By October 2017, HelloFresh was telling investors that it had “out executed Blue Apron

across all dimensions” and was poised “to overtake our biggest competitor in the near term.”

       132.    On October 18, 2017, Blue Apron announced that it had eliminated 6% of its

workforce in a “company-wide realignment of personnel to support its strategic priorities.”

According to Salzberg, the layoffs “flowed from the roadmapping and reprioritization exercise

that we recently undertook” and were “necessary as we focus the company on future growth and

achieving profitability.”



15
   Jing Cao, Blue Apron Loses HR Executive, Freezes Hiring amid Expansion, Bloomberg (Aug.
22, 2017, 2:54 PM EDT; updated on August 22, 2017, 4:05 PM EDT),
https://www.bloomberg.com/news/articles/2017-08-22/blue-apron-loses-human-resources-chief-
and-starts-hiring-freeze.
16
   Rani Molla, Blue Apron still dominates the market for meal delivery kits but its market share is
plummeting,         Recode          (Nov         1,        2017,          10:30am           EDT),
https://www.recode.net/2017/11/1/16581142/blue-apron-market-share-decline-meal-kit-delivery-
hello-fresh.



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        133.    However, none of this prevented Blue Apron’s stock price from continuing to fall,

as the market remained concerned about Blue Apron’s OTIF rates and its Linden facility. By

October 31, 2017, Blue Apron’s stock price was down to $4.77—less than half the IPO price. In

November 2017, HelloFresh went public on the Frankfurt Stock Exchange with a valuation of

$1.6 billion—twice that of Blue Apron—while reporting higher revenue and lower net losses

than Blue Apron.

        134.    On November 2, 2017, Blue Apron announced its results for the third quarter of

2017, issuing a press release, holding an earnings call, and filing its quarterly report on Form 10-

Q for the quarter ended September 30, 2017 (the “3Q 2017 10-Q”).

        135.    In what appeared to be good news, Blue Apron reported that, after the end of the

quarter, the Company had “completed its most recent product expansion to all customers and

fully transitioned product volumes to its newly launched east coast fulfillment center in Linden,

New Jersey.” Blue Apron had also decided not to build out its planned fulfillment center in

Fairfield, California.

        136.    However, Blue Apron’s financial and operating results kept getting worse.

Revenues had continued to decline, but operating costs and cost of goods sold had both

increased, resulting in a much worse net loss. In addition, Blue Apron continued to lose

customers.

        137.    Moreover, even though Linden was fully operational and “servicing

approximately 50% of our national volume,” it was still “perform[ing] at a margin that was

significantly lower than the average of our existing centers.” And, as gradually became clear in

the earnings call, the Company’s margins and OTIF rates were still so bad that the Company was

not willing to “get back to a normal cadence of marketing spend” until they improved. As



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Dickerson explained on the earnings call, in response to a question about whether Blue Apron’s

plan to re-accelerate marketing spend was still “totally conditional on operational improvements

and the metrics that you track over the next three or six months”:

       …margin is a key driver of this going forward, so the ability for us to continue to
       work our way through product expansion, and specifically work our way through
       the Linden transition is really, really important for us relative to the attractiveness
       of marketing spending growth in the future. So, focus on getting OTIF in the
       right place, focus on getting margin in the right place is really going to be a key
       driver of our ability to reinvest in marketing and grow our new customer base
       going forward.

       I can’t give you a timeline right now, but what I can tell you is the leading
       indicator will be our margins getting back to where we would like them to be and,
       obviously, OTIF getting into a healthy zone too. So, we’re excited about the fact
       that we’ve fully transitioned both in product expansion and to Linden. That’s a
       great opportunity for us now to start to optimize as we work our way through the
       rest of this year. We just really have to see how things go the rest of this year to
       determine what 2018 looks like and when we can start to press the pedal down in
       marketing investment again based on those metrics.

       As far as your question around customer base, and tenure, and so forth, it does go
       back to marketing again, so obviously, when we pull back on marketing the
       biggest impact to that will be new customers which will automatically skew you
       to more tenured customers when you pull back on marketing. So, we saw that in
       Q3 and we’ll see that in Q4, obviously, also, as we talked about in my prepared
       remarks and we’re going to be pulling back on marketing even more so in Q4
       than Q3 as we continue to focus on OTIF and operational improvements.

       138.    Because of the continued need for operational improvements, Blue Apron further

reduced its guidance for the year. In August, the Company had projected a net loss of $121-128

million in the second half of 2017. Now, the Company said it expected a net loss of $131-138

million.

       139.    In response the earnings release, Blue Apron’s stock price plummeted 18.6%,

from $4.67 on November 1, 2017 to close at $3.80 on November 2, 2017. However, even this

reduced price point did not reflect the true value of Blue Apron’s stock, as the market continued

to learn more about the Company’s setbacks in trying to ramp up production.


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       140.   Analysts and commentators were unimpressed. The Motley Fool17 noted that Blue

Apron wasn’t “thinking like a growth company anymore” and had built itself into a catch-22:

       Management wants to expand its profit margin before it ramps up marketing
       again. But to expand its margin, it needs to use the full capacity of its Linden
       center. And it won’t get to full capacity unless it adds new customers with
       marketing.

       Margin improvement is an immediate priority

       Blue Apron started pulling back on marketing spend in the second quarter after its
       transition to the Linden facility went worse than anticipated. Problems in the
       transition led to a drop in the “on-time and in-full,” or OTIF, delivery of Blue
       Apron’s meal kits. Naturally, the lower the OTIF delivery rate, the more
       dissatisfied customers Blue Apron has, and fewer people order a second or third
       time from the company….

       [Blue Apron] also lowered its net loss outlook for the second half of the year,
       which doesn’t indicate confidence that management will turn around its margins
       in the near future.

       141.   SunTrust reduced its price target from $5.50 to $4, noting “low visibility into the

company’s 2018 turnaround efforts” and commenting that the Company’s planned pullback on

marketing spend was “an acknowledgement that the fulfillment centers and product is not ready

for prime time yet.” RBC reduced its price target from $8 to $6. Oppenheimer still refused to set

any price target, opting to “remain on the sidelines given near-term uncertainty in the growth

algorithm amid increasing competition going forward.”

       142.   Salzberg and Dickerson tried to reassure investors at the RBC Capital Markets

TIMT Conference on November 7, 2017, but to no avail. Analysts were impatient to hear the

Company’s progress in Linden and in fixing its OTIF rates and its margins.




17
   Adam Levy, Did Blue Apron Build Itself a Catch-22?, Motley Fool (Nov 6, 2017 at 12:00PM),
https://www.fool.com/investing/2017/11/06/did-blue-apron-build-itself-a-catch-22.aspx.



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       143.      Salzberg and Dickerson tried to argue that the Linden fulfillment center had been

a worthwhile investment for the Company and that it would eventually become extremely

efficient. Instead, they made clear that the Company was still, in fact, far behind what investors

had believed with respect to Linden, margins, and OTIF rates.

       144.      Asked about Linden, Salzberg responded:

       Linden was a big investment for us in terms of building out additional capacity
       and additional capabilities for our Company. It was an investment in additional
       food manufacturing capability to drive down our costs, improve our margins, and
       also allow us to extend and transform our product line to be more flexible for our
       customers moving forward….

       But the same time as we ramped Linden, we had what we have described as an
       overly optimistic ramp plan and have been incurring additional costs relative to
       our plan than what we expected there. So now that we have completed that ramp,
       we are very focused on getting the margins in Linden to where we expect them
       to be performing.

       Today, Linden is performing as our worst margin fulfillment center because it’s
       very new. It has a lot to do with the new employees at that center. We are training
       hundreds of new people. We are finishing the implementation and the
       maintenance and the installation of a lot of new technology and a lot of
       equipment. Making sure we are getting the full utilization and uptime out of all
       that equipment is really important to us. And we are working very aggressively to
       drive the margin improvement there.

       145.      Dickerson disclosed how much the Company’s margins had worsened in the

previous year:

       I think if you looked at our history, you saw in the front half of 2016 you saw
       margins in the mid-30%s. Now we are coming off a third quarter that was 22%
       roughly in margins. So I think if you look at the first and second quarter of 2016,
       mid-30%s, I think that’s a longer-term opportunity for us.

       And to Matt’s point, the fact that Linden is about half of our national volume and
       will be the most efficient center, you compare to where we were a couple years
       ago, I think it shows the longer-term opportunity that we should be actually better
       than that in the mid-30%s with Linden because it’s going to be our most efficient
       center.




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       So I’d say we are still trying to figure out when that timing is of that. Obviously,
       fully transitioning from Jersey City to Linden was a very important first step.
       Now we can look to optimize and work our way forward. But we do expect that
       that would be -- over time, that would be our most highly efficient center.

       146.    Salzberg admitted that Linden was still “the biggest challenge that we have as a

business right now” and that the Company still remained unable to pursue “big opportunities”

because it had to focus on fixing Linden’s problems:

       I think the biggest challenge that we have as a business right now is, very
       obviously one we’ve been very transparent with the markets, and it’s our Linden
       fulfillment center. I think almost the entirety of the narrative of our Company
       since the time we’ve gone public, which has not been that long ago, is related to
       our Linden fulfillment center launch.

       And because we had experienced some there, we are that right now. And as we
       rightsize that, we see big opportunities to think about revenue and marketing and
       the like behind that. Because the interconnectedness of all these components of
       our business is what drives our financial health.

       So when we have good margins, we have better lifetime values. When we have
       better lifetime values, we can market more aggressively. We can drive more
       revenue. We can acquire more customers. When we acquire more customers, they
       refer other customers. And it’s a very virtuous cycle. And so we are being
       cautious now because of Linden in particular.

       147.    In response to a frustrated analyst who pressed Dickerson on when exactly Linden

would be “fix[ed],” Dickerson admitted that it would probably take “months to some degree” but

“it’s hard to say at this point in time” and “it won’t end all of a sudden overnight.”

       148.    Investors were not reassured. In response to the new information disclosed on

November 7, 2017, Blue Apron’s stock price plummeted more than 20%, falling from $3.88 on

November 6, 2017 to close at $3.05 on November 7, 2017.




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       149.    The Motley Fool18 blamed the Company for “unforced errors,” noted that “[i]f the

company had simply maintained its 57% market share from a year ago, revenue would have

grown 46% in the third quarter instead of just 3% as the industry continues to expand,” and

concluded that “the first quarter of 2018 may be its last chance to reinvest in marketing and show

that it can grow its market share.” Trader Josh Brown told CNBC19:

       This is the worst IPO of the year... I’ve never seen anything like this, where the
       company becomes public and within a week, they’re completely changing the
       way they do fulfillment. And now they’re blaming the cost of shipping out of a
       new fulfillment center, at the same time that revenue growth collapses. This
       should not have become public. It looks more like an exit from VCs that just
       wanted some other hands to take this out of their hands.

       150.    By November 29, 2017, Blue Apron stock had dropped below $3—70% below its

IPO price.

       151.    On November 30, 2017, after market close, Blue Apron announced that Salzberg

had “stepped down from his role as President and Chief Executive Officer” and that Brad

Dickerson had taken his place.

       152.    Many analysts were not impressed. On December 1, 2017, RBC lowered its price

target from $6 to $4, explaining:

       We start off by acknowledging that our Outperform call since July 24th at $6.55
       has been wrong. We have been arguably overly patient with the company as it
       attempts to conduct a very challenging execution against a potentially very large
       market opportunity. Brad Dickerson may very well prove to be a successful CEO,


18
  Jeremy Bowman, Blue Apron Might Be Dying, But Meal Kits Aren’t, Motley Fool (Nov 15,
2017 at 8:32AM), https://www.fool.com/investing/2017/11/15/blue-apron-might-be-dying-but-
meal-kits-arent.aspx.
19
   Sarah Whitten, A new low. Blue Apron falls another 16% as NJ fulfillment center eats away at
profits, CNBC (Nov. 7, 2017 at 11:31 AM ET; updated 1:26 PM),
https://www.cnbc.com/2017/11/07/blue-apron-shares-plummet-15-percent-to-new-low-on-cost-
concerns.html.



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       but at the margin we view the management change as implying less visibility and
       certainty into APRN’s fundamentals. Frankly, the level of operational,
       fundamental and management volatility since its IPO is the most we have
       witnessed among any Internet stock ... hence the downgrade.

       153.   Investors were temporarily reassured, and Blue Apron stock rose past $4 by mid-

December, but it soon declined once more, havering between $3 and $4 in 2018.

VIII. THE SECURITIES CLASS ACTION MOTION TO DISMISS IS DENIED

       154.   On April 22, 2020, the court in the Securities Class Action denied Defendants’

Motion to Dismiss in its entirety, noting that plaintiffs in the Securities Class Action had: (i)

“sufficiently alleged defendants were aware of some omitted material facts at the time of the

IPO;” (ii) sufficiently alleged a trend under Item 303; and (iii) plausibly alleged that some

statements in the IPO Prospectus were misleading.

       155.   Faced with the denial of the motion to dismiss in the Securites Class Action, it’s a

foregone conclusion that defendants will incur millions of dollars in damages resolving the

Securities Class Action. Any amounts paid to the class in the Securities Class Action by the

Company in excess of its share is recoverable from its co-defendants.

IX.    DAMAGES TO BLUE APRON

       156.   As a result of Defendants' improprieties, Blue Apron disseminated improper,

public statements concerning the Company’s business and financial prospects, including the

failure to disclose that: (i) Blue Apron was experiencing adverse On-Time In-Full (“OTIF”)

performance at its production facilities; (ii) significant delays had materialized in opening and

ramping up production at the Linden, New Jersey facility; (iii) the adverse OTIF rates and delays

at Linden were hindering the Company’s customer retention and would necessarily delay the

Company’s announced plans to add new products, which would be essential to gain new

customers and compete effectively in the marketplace; and (iv) because of the adverse OTIF


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rates and delays at Linden, Blue Apron had already decided it would be forced to change its

strategic approach for the remainder of 2017 by reducing marketing spending until it could

address its operational problems and improve its margins and OTIF rates.

       157.    Defendants’ improper course of conduct has subjected the Company to potentially

millions of dollars in damages in connection with the Securities Class Action. The Company

stands to incur damage due to any amounts paid to the class in settlement of the Securities Class

Action by the Company in excess of its share of liability.

       158.    Further, as a direct and proximate result of the IPO Defendants’ actions, Blue

Apron has expended and will continue to expend significant sums of money. Such expenditures

include, but are not limited to:

               (a)     costs incurred in defending and paying any settlements in the Securities

Class Action for violations of federal securities laws;

               (b)     costs incurred from the Company's internal investigation and review of

alleged misconduct;

               (c)     costs incurred to investigate wrongdoing; and

               (d)     costs incurred from the substantial compensation and benefits paid to the

defendants who have breached their duties to Blue Apron.

X.     DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       159.    Plaintiff brings this action derivatively in the right and for the benefit of Blue

Apron to redress injuries suffered, and to be suffered, by Blue Apron as a direct result of

violations of securities law by the IPO Defendants. Blue Apron is named as a nominal defendant

solely in a derivative capacity. This is not a collusive action to confer jurisdiction on this Court

that it would not otherwise have.



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        160.     Plaintiff will adequately and fairly represent the interests of Blue Apron and its

stockholders in enforcing and prosecuting Blue Apron’s rights.

        161.     Plaintiff is a Blue Apron stockholder, was a stockholder of Blue Apron during the

relevant period, and has continuously been a stockholder of Blue Apron.

        162.     The current Board of Blue Apron consists of the following Seven individuals:

defendants Bradley, Cool, Hirshberg, Kelley, and Salzberg, and non-defendants Huebner and

Kozlowski.

        163.     Plaintiff has not made any demand on the Board to bring the allegations herein

because such a demand would be a futile, wasteful, and useless act, as set forth below.

  Demand Is Excused Because Defendants Salzberg, Bradley, Cool, Hirshberg, and Kelley
            Face a Substantial Likelihood of Liability for Their Misconduct

        164.     As alleged above, five of the seven current Board members, including Defendants

Salzberg, Bradley, Cool, Hirshberg, and Kelley face a substantial likelihood of liability for their

misconduct. As more fully detailed herein, Defendants Salzberg, Bradley, Cool, Hirshberg, and

Kelley participated and approved the improper IPO Materials in their capacity as Blue Apron

directors.     As a result of their access to and review of internal corporate documents,

conversations and connections with other corporate officers, employees, and directors, and

attendance at management and Board meetings, each of these Defendants knew the adverse, non-

public information regarding Blue Apron’s business and financial prospects before the issuance

of the IPO Materials, yet each failed to prevent its release or correct the misleading and

incomplete information contained therein. Moreover, as directors of Blue Apron, these

Defendants each had the duty and opportunity to discuss material information with management

and fellow directors at any of the Board meetings that occurred before the Company’s IPO, as

well as at meetings of committees of the Board. Despite these duties, these Defendants caused or


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allowed, by their actions or inactions, the improper statements to be disseminated by Blue Apron

to the investing public and the Company’s shareholders in connection with the IPO.

       165.    Accordingly, the above named Defendants face a sufficiently substantial

likelihood of liability such as to create a reasonable doubt as to their impartially consider a

demand to sue themselves in the present action.

                      Demand is Excused as to Non-Defendant Kozlowski

       166.    Non-Defendant Kozlowski is the Company’s President, CEO, and member of the

Board since April 2019. In her role as CEO of the Company for the fiscal year 2019, Defendant

Kozlowski received $2,408,322 in total compensation.          The Company does not claim that

Defendant Kozlowski is an independent director and because her primary source of income and

primary employment is her employment as President and CEO of Blue Apron and her

professional reputation is inextricably bound to her role at Camping World, Defendant

Kozlowski is incapable of acting independently and demand is futile upon her.

                                             COUNT I

    Against the IPO Defendants for Contribution Under Section 11 of the Securities Act

       167.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       168.    As a result of the conduct and events alleged above, Blue Apron has been named

as a defendant in the Securities Class Action brought on behalf of Blue Apron shareholders in

which it is a joint tortfeasor in claims brought under Section 11 of the Securities Act of 1933.

       169.    Federal law provides Blue Apron with a cause of action against other alleged joint

tortfeasors under Section 11(f).




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       170.    Accordingly, Plaintiff, on behalf of Blue Apron, hereby claims contribution

against the IPO Defendants, each of whom has been named in the currently pending Securities

Class Action as a joint tortfeasor with Blue Apron under Section 11, or if joined in such actions,

would be liable for the same damages as Blue Apron.

       171.    Blue Apron claims no right to indemnification under the federal securities laws

from them in this count, but rather only claims contribution.

       172.    The plaintiffs in the Securities Class Action allege that the Registration Statement

for the IPO was inaccurate and misleading, contained untrue statements of material facts, omitted

to state other facts necessary to make the statements made not misleading, and omitted to state

material facts required to be stated therein.

       173.    Blue Apron is the registrant for the IPO. The Defendants named herein were

responsible for the contents and dissemination of the Registration Statement.

       174.    As issuer of the shares, Blue Apron is strictly liable to plaintiffs and the Class for

the misstatements and omissions alleged in the Securities Class Action.

       175.    The plaintiffs in the Securities Class Action allege that none of the Individual

Defendants named therein made a reasonable investigation or possessed reasonable grounds for

the belief that the statements contained in the Registration Statement were true and without

omissions of any material facts and were not misleading.

       176.    By reasons of the conduct therein alleged, each Individual Defendant violated,

and/or controlled a person who violated Section 11 of the Securities Act.

       177.    The plaintiffs in the Securities Class Action allege that plaintiffs acquired Blue

Apron securities pursuant and/or traceable to the Registration Statement for the IPO.




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          178.   The plaintiffs in the Securities Class Action allege that plaintiffs and the Class

have sustained damages. The value of Blue Apron securities has declined substantially due to

Defendants’ violations.

          179.   Accordingly, the IPO Defendants are liable for damages under Section 11(f) of

the Securities Act, and, if Blue Apron were to be held liable in the Securities Class Action, the

IPO Defendants would be liable to it for contribution. Plaintiff hereby derivatively claims such

right of contribution on behalf of Blue Apron.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment in the Company’s favor against all

Defendants as follows:

          A.     Declaring that Plaintiff may maintain this action on behalf of Blue Apron and that

Plaintiff is an adequate representative of the Company;

          B.     Determining and awarding to Blue Apron the damages sustained by it as a result

of the violations set forth above from each of the Defendants, jointly and severally, together with

interest thereon;

          C.     Directing Blue Apron and Defendants to take all necessary actions to reform and

improve its corporate governance and internal procedures to comply with applicable laws and to

protect Blue Apron and its shareholders from a repeat of the damaging events described herein;

          D.     Awarding Blue Apron contribution from the IPO Defendants, and each of them;

          E.     Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

          F.     Granting such other and further equitable relief as this Court may deem just and

proper.



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                              DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: June 12, 2020                         Respectfully submitted,

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                                             Attorneys for Plaintiff




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                                          VERIFICATION

I, Jeffrey Peters hereby declare as follows:


       I am shareholder of APRN and have continuously so owned the Company’s common

stock during the relevant period. I declare that I am the plaintiff named in the foregoing

Shareholder Derivative Complaint (“Complaint”), and know the content thereof; that the

pleading is true to my knowledge, except as to those matters stated on information and belief,

and that as to such matters I believe to be true. I declare under penalty of perjury that the

foregoing is true and correct.



Executed on 05/14/2020




                                                         Signature
